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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Alberta Javosky,                           )
                                           )
          Plaintiff,                       )
                                           )
          v.                               )      No.   10 C 8144
                                           )
LVNV Funding, LLC, a Delaware limited )
liability company, Nelson, Watson &        )
Associates, LLC, a Massachusetts           )
limited liability company, and Resurgent )
Capital Services, L.P., a Delaware limited )
partnership                                )
                                           )
          Defendants.                      )      Jury Demanded

                                       COMPLAINT

       Plaintiff, Alberta Javosky, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendants’ debt

collection actions violated the FDCPA, and to recover damages for Defendants’

violations of the FDCPA, and alleges:

                               JURISDICTION AND VENUE

       1.     This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.     Venue is proper in this District because: a) parts of the acts and

transactions occurred here; and, b) Defendants reside and transact business here.

                                         PARTIES

       3.     Plaintiff, Alberta Javosky ("Javosky"), is a citizen of the State of Ohio, from

whom Defendants attempted to collect a delinquent consumer debt owed for a

Washington Mutual credit card, which was then allegedly owed to a bad debt buyer,
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LVNV Funding, despite the fact that she was represented by the legal aid attorneys at

the Chicago Legal Clinic's Legal Advocates for Seniors and People with Disabilities

program ("LASPD"), located in Chicago, Illinois.

       4.     Defendant, LVNV Funding, LLC (“LVNV”), is a Delaware limited liability

company that acts as a debt collector, as defined by § 1692a of the FDCPA, because it

regularly uses the mails and/or the telephone to collect, or attempt to collect, directly or

indirectly, delinquent consumer debts. In fact, Defendant LVNV was acting as a debt

collector, as that term is defined in the FDCPA, as to the delinquent consumer debt it

attempted to collect from Plaintiff.

       5.     Defendant, Nelson, Watson & Associates, LLC (“Nelson"), is a

Massachusetts limited liability company that acts as a debt collector, as defined by §

1692a of the FDCPA, because it regularly uses the mails and/or the telephone to

collect, or attempt to collect, directly or indirectly, delinquent consumer debts. In fact,

Defendant Nelson was acting as a debt collector, as that term is defined in the FDCPA,

as to the delinquent consumer debt it attempted to collect from Plaintiff.

       6.     Defendant, Resurgent Capital Services, L.P. (“Resurgent”), is a Delaware

limited partnership that acts as a debt collector, as defined by § 1692a of the FDCPA,

because it regularly uses the mails and/or the telephone to collect, or attempt to collect,

directly or indirectly, delinquent consumer debts. In fact, Defendant Resurgent was

acting as a debt collector, as that term is defined in the FDCPA, as to the delinquent

consumer debt it attempted to collect from Plaintiff.

       7.     Defendants LVNV, Nelson and Resurgent are all licensed to conduct

business in the State of Illinois and maintain registered agents within the State of



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Illinois. See, records from the Illinois Secretary of State, attached as Group Exhibit A. In

fact, Defendants LVNV, Nelson and Resurgent all conduct business in Illinois.

       8.     Defendants LVNV, Nelson and Resurgent are all licensed as debt

collection agencies in the State of Illinois. See, records from the Illinois Division of

Professional Regulation, attached as Group Exhibit B. In fact, Defendants LVNV,

Nelson and Resurgent all act as collection agencies in Illinois.

       9.     Defendants LVNV and Resurgent are sister corporations. Defendant

LVNV is a bad debt buyer, and Defendant Resurgent manages collections of the

portfolios of debts that LVNV buys.

                                FACTUAL ALLEGATIONS

       10.    Ms. Javosky is a disabled senior citizen, with limited assets and income,

who fell behind on paying her bills, including a debt she owed originally to Washington

Mutual. At some point in time, Defendant LVNV bought Ms. Javosky’s Washington

Mutual debt after she defaulted on it, and when Defendants began trying to collect the

Washington Mutual debt from her, she sought the assistance of the legal aid attorneys

at the Chicago Legal Clinic’s LASPD program, regarding her financial difficulties and

Defendants’ collection actions.

       11.    Specifically, Defendant LVNV hired another debt collector, Richard J.

Boudreau & Associates, LLC (“Boudreau”), to demand payment of the Washington

Mutual debt from Ms. Javosky. Accordingly, on September 3, 2009, one of Ms.

Javosky's attorneys at LASPD informed Defendant LVNV, through its agent, Boudreau,

that Ms. Javosky was represented by counsel, and directed LVNV to cease contacting

her, and to cease all further collection activities because Ms. Javosky was forced, by



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her financial circumstances, to refuse to pay her unsecured debt. A copy of this letter is

attached as Exhibit C.

       12.    Undeterred, Defendant LVNV then had Defendant Nelson send Ms.

Javosky a collection letter, dated September 9, 2010, which demanded payment of the

Washington Mutual debt. A copy of this collection letter is attached as Exhibit D.

       13.    Accordingly, on September 23, 2010, Ms. Javosky's LASPD attorney

again sent Defendants a letter, directing them to cease communications and to cease

collections. Copies of this letter and fax confirmation are attached as Exhibit E.

       14.    Nonetheless, Defendants LVNV and Resurgent sent a collection letter,

dated September 28, 2010, directly to Ms. Javosky, which demanded payment of the

Washington Mutual debt. A copy of this letter is attached as Exhibit F.

       15.    Defendants’ collection actions complained of herein occurred within one

year of the date of this Complaint.

       16.    Defendants’ collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                                      COUNT I
                      Violation Of § 1692c(c) Of The FDCPA --
             Failure To Cease Communications And Cease Collections

       17.    Plaintiff adopts and realleges ¶¶ 1-16.

       18.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).



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      19.    Here, the letters from Ms. Javosky's agent, LASPD, told Defendants to

cease communications and to cease collections. By continuing to communicate

regarding this debt and demanding payment , Defendants violated § 1692c(c) of the

FDCPA.

      20.    Defendants’ violations of § 1692c(c) of the FDCPA renders them liable for

statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      21.    Plaintiff adopts and realleges ¶¶ 1-16.

      22.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      23.    Defendants knew, or readily could have known, that Ms. Javosky was

represented by counsel in connection with her debts because her attorneys at LASPD

had informed Defendants, in writing, that Ms. Javosky was represented by counsel, and

had directed a cessation of communications with Ms. Javosky. By sending collection

letters to Ms. Javosky, despite being advised that she was represented by counsel,

Defendants violated § 1692c(a)(2) of the FDCPA.

      24.    Defendants’ violations of § 1692c(a)(2) of the FDCPA render them liable

for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                 PRAYER FOR RELIEF

      Plaintiff, Alberta Javosky, prays that this Court:



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       1.     Find that Defendants’ debt collection actions violated the FDCPA;

       2.     Enter judgment in favor of Plaintiff Javosky, and against Defendants, for

statutory damages, costs, and reasonable attorneys’ fees as provided by § 1692k(a) of

the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Alberta Javosky, demands trial by jury.

                                                     Alberta Javosky,

                                                     By: /s/ David J. Philipps___
                                                     One of Plaintiff's Attorneys

Dated: December 22, 2010

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